Case 2:16-cr-00293-JFW-JGB Document 202 Filed 11/05/20 Page 1 of 2 Page ID #:1040



     1
     2
     3
     4
     5
     6
     7
     8                            UNITED STATES DISTRICT COURT
     9                           CENTRAL DISTRICT OF CALIFORNIA
   10
         UNITED STATES OF AMERICA,                  )       Case No.: 2:16-CR-00293-JFW
   11                                               )
                                Plaintiff,          )       ORDER OF DETENTION PENDING
   12                                               )       FURTHER REVOCATION
                        v.                          )       PROCEEDINGS
   13    BERNIE MARTINEZ                            )       (FED. R. CRIM. P. 32.1(a)(6); 18
                                                    )       U.S.C. § 3143(a)(1))
   14                                               )
                                Defendant.          )
   15                                               )
   16         The defendant having been arrested in this District pursuant to a warrant
                                                         Central
   17 issued by the United States District Court for the _______________ District of
       California
   18 ______________ for alleged violation(s) of the terms and conditions of probation
   19 or supervised release; and
   20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
   21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
   22 A. (x )    The defendant has not met his/her burden of establishing by clear and
   23            convincing evidence that he/she is not likely to flee if released under 18
   24            U.S.C. § 3142(b) or (c). This finding is based on the following:
   25            ( x)        information in the Pretrial Services Report and Recommendation
   26            ( x)        information in the violation petition and report(s)
   27            ( x)        the defendant’s nonobjection to detention at this time
   28            ( )         other:


                                                        1
Case 2:16-cr-00293-JFW-JGB Document 202 Filed 11/05/20 Page 2 of 2 Page ID #:1041



     1           and/ or
     2 B. (x )   The defendant has not met his/her burden of establishing by clear and
     3           convincing evidence that he/she is not likely to pose a danger to the safety
     4           of any other person or the community if released under 18 U.S.C.
     5           § 3142(b) or (c). This finding is based on the following:
     6           (x)    information in the Pretrial Services Report and Recommendation
     7           (x )   information in the violation petition and report(s)
     8           ( x)   the defendant’s nonobjection to detention at this time
     9           ( )    other:
   10
   11 IT THEREFORE IS ORDERED that the defendant be detained pending the further
   12 revocation proceedings.
   13
   14 Dated:     11/5/2020                     ____________________ _____________
                                               SHASHI H. KEWALRAMANI
   15                                          UNITED STATES MAGISTRATE JUDGE
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                                  2
